             Case 2:24-cr-00099-FLA                  Document 57            Filed 03/24/25         Page 1 of 5 Page ID #:295
 United States District Court
                                                         Central District of California
                                                                                                                                 JS-3

 UNITED STATES OF AMERICA vs.                                                Docket No.             2:24-cr-00099-FLA-2

 Defendant             Pierre Burns                                          Social Security No. N          O     N     E

 akas: Pierre Laera Burns                                                    (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH   DAY      YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         03       21     2025


 COUNSEL                                                                  John Targowski, CJA
                                                                             (Name of Counsel)

     PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                 NOT
                                                                                                                CONTENDERE             GUILTY
  FINDING              There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offenses of:
                       Conspiracy to Distribute and Possess with Intent to Distribute Methamphetamine, in violation of 21 U.S.C. §§ 846
                       and 841(a)(1), (b)(1)(A)(viii), as charged in count 1 of the Indictment.

JUDGMENT              The court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/             contrary was shown, or appeared to the court, the court adjudged the defendant guilty as charged and convicted and ordered
  COMM                that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the court that the defendant, Pierre Burns, is
  ORDER               hereby committed on count 1 of the Indictment to the custody of the Bureau of Prisons for a term of forty-one (41)
                      months.

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately. Any unpaid balance shall
be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial
Responsibility Program.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the court finds that the defendant has established that he is unable to pay and is not
likely to become able to pay any fine.

The court recommends the Bureau of Prisons evaluate the defendant’s eligibility for the 500-hour residential drug abuse program known as
RDAP, conduct a mental health evaluation of the defendant, and provide all necessary treatment.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three (3) years under the following terms
and conditions:

    1.   The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services Office and Second
         Amended General Order 20-04.

    2.   During the period of community supervision, the defendant shall pay the special assessment in accordance with this judgment's orders
         pertaining to such payment.

    3.   The defendant shall cooperate in the collection of a DNA sample from the defendant.

    4.   The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
         days of release from custody and at least two periodic drug tests thereafter, not to exceed eight tests per month, as directed by the
         Probation Officer.

    5.   The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes urinalysis, breath or
         sweat patch testing, as directed by the Probation Officer. The defendant shall abstain from using alcohol and illicit drugs, and from
         abusing prescription medications during the period of supervision.
CR-104 (docx 12/20)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 1 of 5
             Case 2:24-cr-00099-FLA               Document 57            Filed 03/24/25          Page 2 of 5 Page ID #:296

 USA vs.      Pierre Burns                                                      Docket No.:      2:24-cr-00099-FLA-2


    6.   During the course of supervision, the Probation Officer, with the agreement of the defendant and defense counsel, may place the
         defendant in a residential drug treatment program approved by the U.S. Probation and Pretrial Services Office for treatment of
         narcotic addiction or drug dependency, which may include counseling and testing, to determine if the defendant has reverted to the use
         of drugs. The defendant shall reside in the treatment program until discharged by the Program Director and Probation Officer.

    7.   As directed by the Probation Officer, the defendant shall pay all or part of the costs of the court-ordered treatment to the aftercare
         contractors during the period of community supervision. The defendant shall provide payment and proof of payment as directed by
         the Probation Officer. If the defendant has no ability to pay, no payment shall be required.

    8.   The defendant shall comply with the immigration rules and regulations of the United States, and if deported from this country, either
         voluntarily or involuntarily, not reenter the United States illegally. The defendant is not required to report to the Probation & Pretrial
         Services Office while residing outside the United States; however, within 72 hours of release from any custody or any reentry to the
         United States during the period of court-ordered supervision, the defendant shall report for instructions to the United States Probation
         Office located at: 300 N. Los Angeles Street, Suite 1300, Los Angeles, CA 90012-3323.

    9.   The defendant shall submit the defendant's person, property, house, residence, vehicle, papers, computers, cell phones, other electronic
         communications or data storage devices or media, email accounts, social media accounts, cloud storage accounts, or other areas under
         the defendant’s control, to a search conducted by a United States Probation Officer or law enforcement officer. Failure to submit to a
         search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be subject to searches
         pursuant to this condition. Any search pursuant to this condition will be conducted at a reasonable time and in a reasonable manner
         upon reasonable suspicion that the defendant has violated a condition of his supervision and that the areas to be searched contain
         evidence of this violation.

Defendant is informed of his right to appeal.

The court recommends to the United States Bureau of Prisons that the defendant be housed at FCI Lompoc.

On the government’s motion, count 3 of the Indictment is ordered dismissed.

In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.




            March 24, 2025
            Date                                                    FERNANDO L. AENLLE-ROCHA, United States District Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                    Clerk, U.S. District Court




            March 24, 2025                                    By
            Filed Date                                              Deputy Clerk




CR-104 (docx 12/20)                             JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 2 of 5
             Case 2:24-cr-00099-FLA                    Document 57             Filed 03/24/25           Page 3 of 5 Page ID #:297

 USA vs.      Pierre Burns                                                             Docket No.:     2:24-cr-00099-FLA-2




 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local             9.     The defendant must not knowingly associate with any persons
       crime;                                                                            engaged in criminal activity and must not knowingly associate with
 2.    The defendant must report to the probation office in the federal                  any person convicted of a felony unless granted permission to do so
       judicial district of residence within 72 hours of imposition of a                 by the probation officer. This condition will not apply to intimate
       sentence of probation or release from imprisonment, unless                        family members, unless the court has completed an individualized
       otherwise directed by the probation officer;                                      review and has determined that the restriction is necessary for
 3.    The defendant must report to the probation office as instructed by                protection of the community or rehabilitation;
       the court or probation officer;                                            10.    The defendant must refrain from excessive use of alcohol and must
 4.    The defendant must not knowingly leave the judicial district                      not purchase, possess, use, distribute, or administer any narcotic or
       without first receiving the permission of the court or probation                  other controlled substance, or any paraphernalia related to such
       officer;                                                                          substances, except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation        11.    The defendant must notify the probation officer within 72 hours of
       officer, unless legitimately asserting his or her Fifth Amendment                 being arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;               12.    For felony cases, the defendant must not possess a firearm,
 6.    The defendant must reside at a location approved by the probation                 ammunition, destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before      13.    The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                     enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;                   permission of the court; and
 7.    The defendant must permit the probation officer to contact him or          14.    The defendant must follow the instructions of the probation officer
       her at any time at home or elsewhere and must permit confiscation                 to implement the orders of the court, afford adequate deterrence
       of any contraband prohibited by law or the terms of supervision                   from criminal conduct, protect the public from further crimes of the
       and observed in plain view by the probation officer;                              defendant; and provide the defendant with needed educational or
 8.    The defendant must work at a lawful occupation unless excused by                  vocational training, medical care, or other correctional treatment in
       the probation officer for schooling, training, or other acceptable                the most effective manner.
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




CR-104 (docx 12/20)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                                            Page 3 of 5
             Case 2:24-cr-00099-FLA                 Document 57           Filed 03/24/25         Page 4 of 5 Page ID #:298

 USA vs.      Pierre Burns                                                       Docket No.:     2:24-cr-00099-FLA-2



      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be
 subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
 or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
 Payments must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18
 U.S.C. § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
 for any loan or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the court have been satisfied in full.

            These conditions are in addition to any other conditions imposed by this judgment.


CR-104 (docx 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                    Page 4 of 5
             Case 2:24-cr-00099-FLA                Document 57           Filed 03/24/25           Page 5 of 5 Page ID #:299

 USA vs.      Pierre Burns                                                      Docket No.:       2:24-cr-00099-FLA-2




                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




CR-104 (docx 12/20)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 5 of 5
